                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )      NO. 3:12-00076
                                                     )      JUDGE CAMPBELL
ALLEN WALKER, et al.                                 )

                                            ORDER

       The Court held a status conference in this case on November 14, 2012. At the

conference, counsel for Defendant Robert Hall indicated that he does not object to the current

trial date of January 29, 2013. The Court also set an alternate change-of-plea hearing for

December 10, 2012, at 9:00 a.m.

       It is so ORDERED.

                                                     ____________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00076        Document 150        Filed 11/14/12      Page 1 of 1 PageID #: 301
